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                                                                                              Buzko Krasnov
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December 20, 2023

Via email

Blockquarry Corp.
tspeer@foxrothschild.com



       RE:        RETURN OF BEEQB’S EQUIPMENT

       To Whom It May Concern,

       Our firm represents Maxim Eliseev, the owner of BEEQB LLC, whose mining machines
are currently held by Blockquarry.

        BEEQB, through its representatives, has communicated that it wants to retake possession
of its mining equipment from Blockquarry. Blockquarry is currently the bailee of BEEQB’s mining
equipment and the other remaining personal property that is/was located at the Gaffney site. As
bailee, Blockquarry is obligated to coordinate the return of the mining equipment to BEEQB.

         On November 14, 2023, BEEQB communicated to Blockquarry that BEEQB was ready to
facilitate the return of BEEQB’s mining equipment and offered assistance to expedite the process.
The following day, BEEQB asked for a timetable for the return of its mining equipment and offered
to minimize Blockquarry’s expenses by arranging direct transportation of the mining equipment
from the Gaffney facility to BEEQB as soon as possible.

        BEEQB has patiently waited for Blockquarry’s response regarding its intentions and action
plan. Blockquarry has expressed its willingness to return BEEQB’s mining equipment. However,
Blockquarry has not provided BEEQB with a timetable, responded to BEEQB’s offers for
assistance, or furnished any updates regarding the return of BEEQB’s mining equipment.

        BEEQB now demands that you provide updates on the status of its mining equipment and
return of BEEQB’s properties immediately.

        Blockquarry is the bailee of BEEQB’s mining equipment. South Carolina Code Section 36-
7-403 outlines the bailee’s obligations to deliver. Section 36-7-403 states that, “[a] bailee shall
deliver the goods to a person entitled under a document of title if the person complies with
subsections (b) and (c). BEEQB has satisfied both subsections. There is no lien for BEEQB to
address under subsection (b), and for subsection (c), BEEQB owns the application-specific
integrated circuit miner machines (See attached Inventory) and the crypto mining containers (See
attached Uptime Armory Sale and Purchase Agreement).

       None of the lawful excuses for non-delivery articulated in Section 36-7-403 are applicable
to Blockquarry in this situation.




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        The inventory process of BEEQB’s assets should not have exceeded three business days.
Furthermore, Blockquarry has encountered no challenges with transportation or inventory
management, as evidenced by posts on its official Twitter account (See attached Screenshots).
These posts reveal the ongoing transportation of inventory from the Gaffney site to various
locations in other states, including the movement of inventory belonging to BEEQB. These actions
were taken without BEEQB’s knowledge or consent, rendering BEEQB unaware of the current
whereabouts and condition of its mining equipment.

       BEEQB has been awaiting the release of its mining equipment since November 2022. The
continued inactivity of this mining equipment is resulting in daily financial losses for BEEQB.

       As bailee, Blockquarry is hereby required to promptly return to BEEQB all its mining
equipment and other properties rightfully owned by BEEQB. BEEQB is prepared to assist
Blockquarry expediting the return process. BEEQB hopes for a swift and amicable resolution to
this matter. However, should the need arise, BEEQB reserves the right to resort to legal measures
to secure compensation for any unjustified delays.



                                                          Sincerely,

                                                           /s/ Filipp Petkevitch /s/
                                                          Filipp Petkevitch
                                                          Attorney
                                                          Buzko Krasnov
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                                                          filipp.petkevitch@buzko.legal




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